    Case 19-41141     Doc 105      Filed 01/31/20 Entered 01/31/20 15:26:43              Desc Main
                                    Document     Page 1 of 2



                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 CENTRAL DIVISION


In re:
         Costa Cafe, Inc.                                Chapter 11
         Debtor                                          Case No. 19-41139-CJP

In re:
         W&E Trust, Inc.                                 Chapter 11
         Debtor                                          Case No. 19-41142-CJP

In re:
         Boston Donuts, Inc.                              Chapter 11
         Debtor                                           Case No. 19-41141-CJP
                                                          (cases jointly administered)

In re:
         Maple Avenue Donuts, Inc.                        Chapter 11
         Debtor                                           Case No. 19-41140-CJP

In re:
         EOR Holding Corporation                          Chapter 11
         Debtor                                           Case No. 19-41094-CJP

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                ORDER GRANTING REINHART FOODSERVICE, L.L.C.’S
                      MOTION FOR ALLOWANCE PAYMENT
                             OF 503(b)(9) CLAIMS

         At Worcester in said District ____
                                        31st day of _______
                                                     January 2020

         Upon consideration of the Stipulation on Reinhart Foodservice, L.L.C.’s Motion for

Allowance of 11 U.S.C. §503(b)(9) Claims (the “Motion”), the Court finding good cause for the

granting of the Motion, it is hereby:

         ORDERED, that Reinhart Foodservice, L.L.C. shall have an allowed administrative

expense claim in the amount of $20,191.62 (the “Administrative Claim”); and it is further
 Case 19-41141      Doc 105    Filed 01/31/20 Entered 01/31/20 15:26:43         Desc Main
                                Document     Page 2 of 2



       ORDERED, that the Debtors shall pay Reinhart Foodservice, L.L.C. as part of a Plan of

Reorganization the sum of $20,191.62 on account of the Administrative Claim as follows:


                     Costa Café, Inc.                    $4,131.29
                     W&E Trust, Inc.                     $3,001.10
                     Boston Donuts, Inc.                $10,828.54
                     Maple Avenue Donuts, Inc.           $2,230.69
                     503(b)(9) Total                    $20,191.62




                                           _____________________________________
                                            Christopher J. Panos
                                            United States Bankruptcy Judge




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